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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF C()LUMBIA

UNITED STATES OF AMERICA
Case No. 17-201-1
UNDER SEAL

PAUL J. MANAFORT, JR.

Defendant

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REPLY IN SUPPORT OF UNITED STATES’ MOTION SEEKING AUTHORIZATION
TO REVIEW COMMUNICATIONS BETWEEN PAUL J. MANAFORT AND A
WITNESS

Before the Court is the Taint Team’s motion requesting an Order authorizing review of
certain communications between Paul J. Manafort, Jr., and a Witness (hereinafter the “Subject
Communications”). The Taint Team seeks this Order consistent with findings made by Chief
Judge Howell in an ex parte proceeding related to testimony sought from the same Witness.

The Defendant opposes the Taint Team’s motion because (l) he did not participate in the
ex parte proceeding and (2) he claims he cannot ascertain whether Judge Howell correctly applied
the crime-fraud exception to the attorney-client privilege because he does not have the record from
that proceeding These arguments must fail. First, the defendant was provided with the record
from the ex parte proceeding on April 3, 2018, and April 17, 2018, With only limited redactions
necessary to protect the source of certain information. (ECF No. at 6-7); See April 3, 2018, and

April 17, 2018, Letters, enclosed as Exhibit A. Second, the Defendant was invited to participate

in the ex parte proceeding as the putative privilege holder, but declined to do so. (ECF No. 360 at

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6). There remains no reason to disturb the Chief Judge’s findings For the foregoing reasons, the
United States respectfully requests that the Court issue the proposed Order authorizing
investigation Team review of the Subject Communications.

Respectfully submitted,

By: /s/ Ell'zabeth Aloi

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Dated: August 27, 2018

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CERTIFICATE OF SERVICE

I certify that a true and accurate copy of the foregoing was served this 27th day of
August, 2018, by Federal Express and electronic mail upon the following:

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